                Case 18-16659-LMI      Doc 53     Filed 01/02/19    Page 1 of 5



                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division
                                  www.flsb.uscourts.gov

In re:                                              Case No. 18-16659-LMI

YURI LYUBARSKY AND                                  Chapter 7
OLGA LYUBARSKY,

       Debtor.
_____________________________________/

                         MOTION TO APPEAR PRO HAC VICE

    Motion and Affidavit of Local Counsel
               I, Felipe Plechac-Diaz, Esq. (“Movant”), a member in good standing of the
    bar of the United States District Court for the Southern District of Florida and qualified to
    practice in this court, request that this court admit pro hac vice Eric Rayz, Esq.
    (“Visiting Attorney”), an attorney admitted to practice and currently in good standing in
    the Commonwealth of Pennsylvania and the State of New York, the U.S. District Court
    for the Eastern District of Pennsylvania, the U.S. Court of Appeals for the Third Judicial
    Circuit, and the United States Supreme Court, and otherwise qualified to practice in this
    court, who proposes to act as counsel for Vertonix Limited (“Client”) in in the case listed
    above, and in any adversary proceedings therein in which the Visiting Attorney appears
    on behalf of such Client.
               I am aware that the local rules of this court require a member in good standing
    of the bar of the United States District Court for the Southern District of Florida and
    qualified to practice in this court to act as local counsel for such Client, unless the
    court specifically authorizes an attorney not so admitted to act as local counsel. I
    understand that local counsel is required to participate in the preparation and
    presentation of, and accept service of all papers in, the case identified above and any
    adversary proceedings in which the Visiting Attorney appears on behalf of such Client.
               I am a member in good standing of the bar of the United States District Court
    for the Southern District of Florida and qualified to practice in this Court and agree to act
    as local counsel for the above-referenced Client in the main case. I understand that I
    am required to participate in the preparation and the presentation of the adversary
    proceeding and to accept service of all papers served in such case and proceedings.


LF-44 (rev. 12/01/16)                        Page 1 of 3
                 Case 18-16659-LMI       Doc 53   Filed 01/02/19    Page 2 of 5



                The order granting this Motion will serve to admit the Visiting Attorney to
    practice in the case noted above on behalf of the Client(s) and in any adversary
    proceedings in that case in which the Visiting Attorney appears on behalf of such Client.
    I understand that if I decline to serve as local counsel in any such adversary
    proceeding, separate local counsel must file an additional Motion to Appear Pro Hac
    Vice, and that absent such separate motion and an order of this court approving the
    same I will continue to act as local counsel for the Client in all such proceedings.
                The affidavit of the Visiting Attorney required under Local Rule 2090-1(C)(2) is
    filed concurrently herewith.
                WHEREFORE, upon the foregoing representations, Movant respectfully
    requests an order of this court authorizing the Visiting Attorney to appear pro hac vice in
    the main case, and for such other and further relief as may be just.
                Dated: January 2, 2019              LEIDERMAN SHELOMITH ALEXANDER
                                                    + SOMODEVILLA, PLLC
                                                    2699 Stirling Road, Suite C401
                                                    Ft. Lauderdale, Florida 33312
                                                    Telephone: (954) 920-5355
                                                    Facsimile: (954) 920-5371

                                                    By:__________/s/_____________
                                                          FELIPE PLECHAC-DIAZ, ESQ
                                                          Florida Bar No. 0105483
                                                          fpd@lsaslaw.com


                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served on January 2,
2019 to all parties on the list to receive e-mail notice/service for this case, via the Notice of
Electronic Filing (which is incorporated herein by reference) and via U.S. Mail to Yuri
Lyubarsky and Olga Lyubarsky, 375 Poinciana Island Dr Unit 1135 North Miami Beach, FL
33160.


                                                    By:________/s/______________
                                                          Felipe Plechac-Diaz, Esq.




 LF-44 (rev. 12/01/16)                        Page 2 of 3
                Case 18-16659-LMI     Doc 53    Filed 01/02/19    Page 3 of 5




                           Affidavit of Proposed Visiting Attorney
               I, Eric Rayz, Esq., am a member in good standing of the bar of the
   Commonwealth of Pennsylvania and the State of New York, the U.S. District Court for
   the Eastern District of Pennsylvania, the U.S. Court of Appeals for the Third Judicial
   Circuit, and the United States Supreme Court, but am not admitted to the bar of the
   State of Florida or the United States District Court for the Southern District of Florida. I
   certify that I have never been disbarred, that I am not currently suspended from the
   practice of law in the State of Florida or any other state, and that I am not currently
   suspended from the practice of law before any United States Court of Appeals, United
   States District Court, or United States Bankruptcy Court.
               I hereby request authority to appear pro hac vice in this adversary proceeding
   on behalf of Vertonix Limited (“Client”). I designate Felipe Plechac-Diaz, Esq. (“Local
   Counsel”), who is qualified to practice in this Court, as local counsel for the Client. I
   understand that Local Counsel is required to participate in the preparation and the
   presentation of the case above and any adversary proceedings in which I appear on
   behalf of such Client, and accept service of all papers served in such case and
   proceedings, unless and until other local counsel is designated and accepts such
   designation by filing a separate Motion to Appear Pro Hac Vice on my behalf.
               I certify that I am familiar with and shall and shall be governed by the local
   rules of this Court, the rules of professional conduct and all other requirements
   governing the professional behavior of members of the Florida Bar.
   FURTHER AFFIANT SAYETH NAUGHT.

                                                  Kalikhman & Rayz, LLC
                                                  1051 County Line Road, Suite A
                                                  Huntingdon Valley, PA 19006
                                                  Phone: 215.792.2963
                                                  E-mail: erayz@kalraylaw.com

                                                  By:
                                                          Eric Rayz, Esq.

Sworn to and Subscribed before __________________ on                            .


                                                  My Commission Expires:
   Notary Public



LF-44 (rev. 12/01/16)                       Page 3 of 3
Case 18-16659-LMI   Doc 53   Filed 01/02/19   Page 4 of 5
Case 18-16659-LMI   Doc 53   Filed 01/02/19   Page 5 of 5
